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IN THE UNITED STATES DISTRICT COURT ‘ ill '“" :' " `- '!‘ ’
FOR THE WESTERN DISTRICT OF TENNESSEE

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WILLIAM K. CARTER, q -_.,;,i_\ mr T`»f-b,@i§;-,.\C}
§ t fleet
Plaim;iff, §
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vs. g NO. 04_1293-r/An
QUINTON WHITE, er al., q
ll
Defendants. §
l
oRDER AssEsslNG FILING FEE
oRDER oF DISMISSAL
oRDER CERTIFYING APPEAL Nor TAKEN IN GooD FAITH
AND

NOTICE OF APPELLATE FlLlNG FEE

 

Plaintiff, William K. Carter, inmate registration number 136885, an inmate at the
Whiteville Correctional Facility (WCF) in Whiteville, Tennessee, filed this complaint under
42 U.S.C. § 1983. The Clerk of Court shall file the case and record the defendants as
Quinton White, Glenn Tumer, and A. Pilgrim.

I. Class Action

The preliminary issue raised by this case is the plaintiff’ s attempt to orchestrate What
is, in effect, a class action. A separate sheet of paper is attached to the complaint as page lA
Which lists twelve inmates as plaintiffs in addition to Carter. Those inmates are: Russell
Hite, registration number 320649', William Johnson, registration number 358955; Michael
Newcomb, registration number 357037; Ricky Miller, registration number 119216; Bobby
Dobbs, registration number 341888; Joseph Rushing, registration number 315728; Mark
l\/ledley, registration number 35 8446; Steve V. Walker, registration number 101964; Travis
E. Gibson, registration number 296683; Brandon Tipton, registration number 358664,

Comer Vance, registration number 161255; and Quinn R. Hutchinson, registration number

Thts document entered on the docket she tape H§co
with Rule 58 and,'or_?Q (a) FRCP on

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366658. No purported plaintiff other than Carter submitted affidavits to proceed i_n m
p_aupe£, nor did they sign the last page of the complaint under penalty of perjury.

Fed. Rule Civ. P. 11 requires that every pleading be signed by an attorney, or if the
party is not represented by an attorney, be signed by the party. Accordingly, as Carter is the
only plaintiff to comply With Rule ll, he is the only plaintiff in this case. The Clerk shall
delete from the docket any reference to Hite, Johnson, NeWcomb, Miller, Dobbs, Rushing,
Medley, Walker, Gibson, Tipton, Vance, and Hutchinson as plaintiffs

Insofar as Carter is attempting to seek class certification under Fed. R. Civ. P.
23(a)(4), he is not entitled to file this case on behalf of any other inmate. PLO _s__e prisoners
are not adequate class representatives able fairly to represent the claims of the class
Inmates. Washington Countv Jail v. England, 516 F. Supp. 132 (E.D. Tenn. 1980), Ml_, 659
F.Zd 1081 (6th Cir. 1981). Neither does plaintiff have a cause of action under § 1983
against any defendant based on his Witnessing alleged violations of the constitutional rights
of other inmates Coon v. Ledbetter, 780 F.Zd 1158, 1160-61 (5th Cir. 1986); Rogers v.
QMS_, No. 95-2220»Ml/Bre (W.D. Tenn. Apr. 28, 1995) (following Coon in dismissing
claims byjail detainee as frivolous). § Jaco v. Bloechle, 739 F.Zd 239, 241 (6th Cir.
1984)(holding § 1983 cause of action is personal to the injured party); Krum v. Sheppard,
255 F. Supp. 994, 997 (W.D. Mich. l966)(holding only an injured party has standing to
sue). Carter, thus, cannot assert any violations of other inmates’ rights

Furtherrnore, the attempted class action interferes With the Court’s duty to apply §
1997e(a) as a threshold matter to this case. The Sixth Circuit has held that 42 U.S.C. §
l99'7e(a) requires a federal court to dismiss Without prejudice whenever a prisoner brings
a prison conditions claim Without demonstrating that he has exhausted his administrative
remedies Brown v. Toombs, 139 F.3d l 102, l 104 (6th Cir. 199 8). This requirement places
an affirmative burden on prisoners of pleading particular facts demonstrating the complete

exhaustion of claims Knuckles El v. Toombs, 215 F.3d 640, 642 (6th Cir. 2000).

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The conclusory complaint raises multiple issues Each individual prisoner must
demonstrate that he has exhausted his available administrative remedies on each claim
presented The complaint fails to make such a demonstration as to any purported plaintiff
"District courts should not have to hold time-consuming evidentiary hearings in order simply
to determine whether [they] should reach the merits or decline under the mandatogg language
of § 1997e ("No action shall be brought . . . .")." fci (emphasis added). Furthermore,
Knuckles-El indicates that this inquiry is jurisdictional: "[i]n the absence of specific
averments a district court must hold an evidentiary hearing or otherwise spend a lot of time
with each case just trying the find out whether it has jurisdiction to reach the merits." l_cL
(emphasis added).

T 0 the extent that the complaint may be construed as containing a motion for class
certification, the motion is DENIED. Any other inmate seeking to file a complaint must do
so independently after exhausting administrative remedies on the claim he wishes to raise.
II. Assessment of Filing Fee

Under the Prison Litigation Reforrn Act of 1995 (PLRA), 28 U.S.C. § 1915(b), all
prisoners bringing a civil action must pay the full filing fee of $ 150 required by 28 U.S.C.
§ l914(a). The mmgi_up_iis statute, 28 U.S.C. § 191 5(a), merely provides the prisoner
the opportunity to make a "downpayment" of a partial filing fee and pay the remainder in
installments

In this case, plaintiff has properly completed and submitted both an i_n forma pauperis

 

affidavit and a prison trust fund account statement It is ORDERED that the trust fund
officer at plaintiffs prison shall calculate a partial initial filing fee equal to twenty percent
of the greater of the average balance in or deposits to the plaintiffs trust fund account for
the six months immediately preceding the completion of the affidavit When the account
contains any funds, the trust fund officer shall collect them and pay them directly to the

Clerk of Court. If the funds in plaintiffs account are insufficient to pay the full amount of

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the initial partial filing fee, the prison official is instructed to withdraw all of the funds in the
plaintiffs account and forward them to the Clerk of Court. On each occasion that funds are
subsequently credited to plaintiffs account the prison official shall immediately withdraw
those funds and forward them to the Clerk of Court, until the initial partial filing fee is paid
in full.

It is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court
monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs
account during the preceding month, but only when the amount in the account exceeds
$l0.00, until the entire 3150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner's account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment

All payments and account statements shall be sent to:

Clerk, United States District Court, Westem District of Tennessee, 167 N.
Main, Room 242, Memphis, TN 38103

and shall clearly identify plaintiffs name and the case number on the first page of this order.

If plaintiff is transferred to a different prison or released, he is ORDERED to notify
the Court immediately of his change of address If still confined he shall provide the
officials at the new prison with a copy of this order.

If the plaintiff fails to abide by these or any other requirement of this order, the Court
may impose appropriate sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust

fund accounts at plaintiffs prison. The obligation to pay this filing fee shall continue despite

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the immediate dismissal of this case. 28 U.S.C. § 1915(e)(2). The Clerk shall not issue
process or serve any papers in this case.
III. Analysis of Plaintift’s Claims

Carter sues Tennessee Department of Correction (TDOC) Commissioner Quinton
White, HCCF Warden Glenn Tumer, and Job Coordinator A. Pilgrim. Plaintiff alleges that
the defendants do not provide protective custody inmates with job s, vocational, educational,
or rehabilitation programs which would allow them to earn wages and sentence credits He
alleges that general population inmates are allowed these opportunities Carter states that
the denial of equal treatment has caused mental and physical distress Plaintiff’s claims are
phrased in conclusory fashion on behalf of all protective custody inmates at the WCF,
therefore the claims do not relate facts demonstrating any specific deprivation or act
committed by any defendant which affected the plaintiff personally.

Plaintiff alleges that he "[f]iled numerous grievance, request [sic] forms, and sent
personal letters" that were not "satisfactorily" resolvedl He also alleges in conclusory
fashion that "[t]he plaintiffs have made numerous attempts from March 2004 until October
of 2004 to resolve their complaint via the state grievance procedure and have fully exhausted
their administrative remedies." Plaintiff did not attach any grievances to the complaint

Foity-two U.S.C. § 1997e(a) requires a federal court to dismiss without prejudice
whenever a prisoner brings a prison conditions claim without demonstrating that he has
exhausted his administrative remedies Brown v. Toombs, 139 F.3d at 1104. The
allegations of the complaint are insufficient to demonstrate that Jackson exhausted or
attempted to exhaust his remedies on any claim presented. In order to comply with the
mandates of 42 U.S.C. § 1997e(a),

a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a co y of the applicable administrative dispositions to

the complaint or, in the a sence of written _documentation, describe with
specificity the administrative proceeding and 1ts outcome.

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Knuckles El, 215 F.3d at 642; see also Baxter v. Rose, 305 F.3d 486 (6th Cir.
2002)(prisoner who fails to adequately allege exhaustion may not amend his complaint to
avoid a sua sponte dismissal); Cugy v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001) (no
abuse of discretion for district court to dismiss for failure to exhaust when plaintiffs did not
submit documents showing complete exhaustion of their claims or otherwise demonstrate
exhaustion). Furthermore, § 1997(e) requires the prisoner to exhaust his administrative
remedies prior to filing suit and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999).

This complaint is fully within the scope of § 1997e Carter’s complaint presents
multiple claims and his allegations are clearly insufficient to satisfy the exhaustion
requirements of § 1997e(e).l As plaintiff failed to exhaust his administrative remedies
before filing this complaint, the Court dismisses the complaint without prejudice under 42
U.S.C. § 1997e(a).

lll. Appeal Issues

The next issue to be addressed is whether plaintiff should be allowed to appeal this
decision i_n f_op__n_a_ p_at_ipe_ri§. Twenty-eight U.S.C. § 1915(a)(3) provides that an appeal may
not be taken i_n w pa_u@‘_is if the trial court certifies in writing that it is not taken in good
faith. The good faith standard is an objective one. Coppedge v. United States, 369 U.S.
438, 445 (1962). Under Brown v. Toombs, an appellate court must also dismiss a
complaint if a prisoner has failed to comply with § 1997e's exhaustion requirements

Accordingly, if a district court determines that a complaint must be dismissed as

unexhausted, plaintiff would not yet be able to present an issue in good faith on appeal

 

1 An inmate can exhaust administrative remedies in two ways He might file the grievance and then

appeal it through all administrative levels made available by the particular institution or government agency.
Altemativcly, he might attempt in good faith to follow the procedure and demonstrate that the institution or agency has
completely frustrated the procedure and rendered further exhaustion efforts futile. This complaint alleges neither
method of exhaustion by Jackson.

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because that appeal would also be subject to immediate dismissal. Thus, the same
considerations that lead the Court to dismiss this case for failure to exhaust administrative
remedies compel the conclusion that an appeal would not be taken in good faith.

lt is therefore CERTIFIED, pursuant to 28 U.S.C. § 1915(a)(3), that any appeal in this
matter by plaintiff is not taken in good faith, and plaintiff may not proceed on appeal in
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The final matter to be addressed is the assessment of a filing fee if plaintiff appeals
the dismissal of this case. The United States Court of Appeals for the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does not affect an indigent
prisoner plaintiffs ability to take advantage of the installment procedures contained in §
1915(b). McGore v. Wrigglesworth, 114 F.3d 601, 610-11 (6th Cir. 1997). MCQL sets
out specific procedures for implementing the PLRA. Therefore, the plaintiff is instructed
that if he wishes to take advantage of the installment procedures for paying the appellate

filing fee, he must comply with the procedures set out in McGore and § 1915(b).

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' JAMES D. ToDD
UNITE TATES DrsTRicr JUDGE

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 3 in
case 1:04-CV-01293 was distributed by fax, mail, or direct printing on
.lune 30, 2005 to the parties listed.

 

 

William K. Carter
HCCA-WHITEVILLE
136885

P.O. Box 549
Whiteville, TN 38075

Honorable .l ames Todd
US DISTRICT COURT

